                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                          CEDAR RAPIDS DIVISION

 UNITED STATES OF AMERICA,
               Plaintiff,                                No. 14-CR-61-LRR
 vs.                                   ORDER REGARDING
                                  MAGISTRATE’S REPORT AND
 ALEXANDER MARCUS KING,                RECOMMENDATION
                                   CONCERNING DEFENDANT’S
         Defendant.                       GUILTY PLEA
                     ____________________

                      I. INTRODUCTION AND BACKGROUND
       On June 4, 2014, a three-count Indictment was filed against the defendant,
Alexander Marcus King. On October 23, 2014, the defendant appeared before United
States Chief Magistrate Judge Jon S. Scoles and entered pleas of guilty to Counts 1, 3 and
4 of the Indictment.        On October 23, 2014, Judge Scoles filed a Report and
Recommendation in which he recommended that the court accept the defendant’s guilty
pleas. On October 23, 2014, the defendant filed a Waiver of Objections to Report and
Recommendation. The court, therefore, undertakes the necessary review of Judge Scoles’s
recommendation to accept the defendant’s pleas in this case.
                                   II. ANALYSIS
       Pursuant to statute, this court’s standard of review for a magistrate judge’s report
and recommendation is as follows:
              A judge of the court shall make a de novo determination of
              those portions of the report or specified proposed findings or
              recommendations to which objection is made. A judge of the
              court may accept, reject, or modify, in whole or in part, the
              findings or recommendations made by the magistrate judge.

28 U.S.C. § 636(b)(1). Similarly, Federal Rule of Civil Procedure 72(b) provides for


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review of a magistrate judge’s report and recommendation on dispositive motions and
prisoner petitions, where objections are made, as follows:
             The district judge must determine de novo any part of the
             magistrate judge's disposition that has been properly objected
             to. The district judge may accept, reject, or modify the
             recommended disposition; receive further evidence; or return
             the matter to the magistrate judge with instructions.
Fed. R. Civ. P. 72(b).
      In this case, no objections have been filed, and it appears to the court upon review
of Judge Scoles’s findings and conclusions that there is no ground to reject or modify
them. Therefore, the court ACCEPTS Judge Scoles’s Report and Recommendation of
October 23, 2014, and ACCEPTS the defendant’s pleas of guilty to Counts 1, 3 and 4 of
the Indictment.
      IT IS SO ORDERED.
      DATED this 23rd day of October, 2014.




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